B1 (Official Form 1) (04/13)
                                      United States Bankruptcy Court
                                      Middle District of Pennsylvania                                                                            Voluntary Petition
 Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
 RWN Property Management LLC
 All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
 (if more than one, state all):     XX-XXXXXXX                                           (if more than one, state all):

 Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
 2621 Lake Shore Drive
 Sciota, PA
                                                       ZIPCODE 18354                                                                                    ZIPCODE
 County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
 Monroe
 Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                        ZIPCODE                                                                                         ZIPCODE
 Location of Principal Assets of Business Debtor (if different from street address above):
 2725 Route 115, Effort, PA
                                                                                                                                                        ZIPCODE 18330
                    Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                   (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
   Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
   See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
   Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
   Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
   Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
   check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                              Other                                                                      (Check one box.)
                 Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
 Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
 __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
 Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
 regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
 __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                     Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                        Check one box:
   Full Filing Fee attached
                                                                          Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                          Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
   Filing Fee to be paid in installments (Applicable to individuals
   only). Must attach signed application for the court’s                Check if:
   consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
   except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                          ----------------------------------------------------------------
   Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
   only). Must attach signed application for the court’s                  A plan is being filed with this petition
   consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                          accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
    Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
    distribution to unsecured creditors.
Estimated Number of Creditors

1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                   5,000          10,000           25,000              50,000              100,000           100,000
Estimated Assets

$0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
Estimated Liabilities

$0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion


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B1 (Official Form 1) (04/13)                                                                                                                           Page 2
Voluntary Petition                                                              Name of Debtor(s):
 (This page must be completed and filed in every case)                          RWN Property Management LLC

                      All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
 Location                                                                       Case Number:                              Date Filed:
 Where Filed:None
 Location                                                                       Case Number:                              Date Filed:
 Where Filed:
    Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                Case Number:                              Date Filed:
 None
 District:                                                                      Relationship:                             Judge:


                                Exhibit A                                                                            Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
 10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
 Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
 requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).


                                                                                X
                                                                                    Signature of Attorney for Debtor(s)                                 Date

                                                                        Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
     Yes, and Exhibit C is attached and made a part of this petition.
     No

                                                                        Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
           Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                   Information Regarding the Debtor - Venue
                                                               (Check any applicable box.)
         Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
         preceding the date of this petition or for a longer part of such 180 days than in any other District.
         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
         Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
         or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
         in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                           (Check all applicable boxes.)
         Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                       (Name of landlord that obtained judgment)

                                                                   (Address of landlord)
         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
         the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
         Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
         filing of the petition.
         Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).

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B1 (Official Form 1) (04/13)                                                                                                                                                   Page 3
Voluntary Petition                                                                     Name of Debtor(s):
 (This page must be completed and filed in every case)                                 RWN Property Management LLC

                                                                                 Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
 petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
 [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
 and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
 under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                            I request relief in accordance with chapter 15 of title 11, United
 the relief available under each such chapter, and choose to proceed under
                                                                                            States Code. Certified copies of the documents required by 11 U.S.C.
 chapter 7.
                                                                                            § 1515 are attached.
 [If no attorney represents me and no bankruptcy petition preparer signs
 the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
 I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
 Code, specified in this petition.
                                                                                       X
 X                                                                                          Signature of Foreign Representative
     Signature of Debtor

 X                                                                                          Printed Name of Foreign Representative
     Signature of Joint Debtor

                                                                                            Date
     Telephone Number (If not represented by attorney)


     Date

                                 Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                       I declare under penalty of perjury that: 1) I am a bankruptcy petition
 X   /s/ Patrick J. Best, Esquire                                                      preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
     Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                       and the notices and information required under 11 U.S.C. §§ 110(b),
     Patrick J. Best, Esquire 309732                                                   110(h) and 342(b); and 3) if rules or guidelines have been promulgated
     Anders, Riegel & Masington, LLC                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     18 North 8th Street                                                               chargeable by bankruptcy petition preparers, I have given the debtor
     Stroudsburg, PA 18360-0000                                                        notice of the maximum amount before preparing any document for filing
     (570) 424-1117 Fax: (570) 424-2814                                                for a debtor or accepting any fee from the debtor, as required in that
     patrick@armlawyers.com                                                            section. Official Form 19 is attached.

                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                       Social Security number of the officer, principal, responsible person or partner of the
                                                                                       bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
     November 19, 2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
 certification that the attorney has no knowledge after an inquiry that the
 information in the schedules is incorrect.

             Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this              X
 petition is true and correct, and that I have been authorized to file this                 Signature
 petition on behalf of the debtor.
                                                                                            Date
 The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
 United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                       Names and Social-Security numbers of all other individuals who prepared or
 X   /s/ Robert W. Nebel                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     Signature of Authorized Individual                                                not an individual:

     Robert W. Nebel
                                                                                       If more than one person prepared this document, attach additional sheets
     Printed Name of Authorized Individual
                                                                                       conforming to the appropriate official form for each person.
     President                                                                         A bankruptcy petition preparer’s failure to comply with the provisions of title 11
     Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
     November 19, 2014                                                                 imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date




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B6 Summary (Official Form 6 - Summary) (12/13)

                                                             United States Bankruptcy Court
                                                             Middle District of Pennsylvania

IN RE:                                                                                                                Case No.
RWN Property Management LLC                                                                                           Chapter 7
                                                     Debtor(s)

                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
a case under chapter 7, 11, or 13.

                                                            ATTACHED             NO. OF
 NAME OF SCHEDULE
                                                             (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


 A - Real Property                                               Yes                          1 $         100,000.00


 B - Personal Property                                           Yes                          3 $                  0.00


 C - Property Claimed as Exempt                                  Yes                          1


 D - Creditors Holding Secured Claims                            Yes                          2                            $       381,413.19


 E - Creditors Holding Unsecured Priority
                                                                 Yes                          2                            $          4,596.33
     Claims (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured
                                                                 Yes                          1                            $                0.00
     Nonpriority Claims

 G - Executory Contracts and Unexpired
                                                                 Yes                          1
     Leases


 H - Codebtors                                                   Yes                          2


 I - Current Income of Individual
                                                                  No                                                                                $
     Debtor(s)

 J - Current Expenditures of Individual
                                                                  No                                                                                $
     Debtor(s)


                                                                 TOTAL                      13 $          100,000.00 $             386,009.52




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B6A (Official Form 6A) (12/07)

IN RE RWN Property Management LLC                                                                                       Case No.
                                                           Debtor(s)                                                                                 (If known)

                                                           SCHEDULE A - REAL PROPERTY
   Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.



                                                                                                                               CURRENT VALUE OF
                                                                                                                              DEBTOR'S INTEREST IN
                                                                                              NATURE OF DEBTOR'S               PROPERTY WITHOUT         AMOUNT OF SECURED
                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                             INTEREST IN PROPERTY                DEDUCTING ANY               CLAIM
                                                                                                                               SECURED CLAIM OR
                                                                                                                                   EXEMPTION



Commercial Property Located At                                                                                                        100,000.00               373,031.99
2725 Route 115
Effort (Chestnuthill Township), PA 18330

Deed Book: 2271; Page: 6868

Value is Based Upon a Valuation of an Abandoned Property of
Roberty Myers of Myers Realty




                                                                                                                 TOTAL                100,000.00
                                                                                                                             (Report also on Summary of Schedules)



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B6B (Official Form 6B) (12/07)

IN RE RWN Property Management LLC                                                                                      Case No.
                                                           Debtor(s)                                                                                (If known)

                                                      SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
“C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
in Schedule C - Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

  If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



                                                                                                                                                        CURRENT VALUE OF
                                                  N                                                                                                    DEBTOR'S INTEREST IN
                                                  O                                                                                                     PROPERTY WITHOUT
               TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                  N                                                                                                       DEDUCTING ANY
                                                  E                                                                                                     SECURED CLAIM OR
                                                                                                                                                            EXEMPTION




   1. Cash on hand.                               X
   2. Checking, savings or other financial        X
      accounts, certificates of deposit or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.
   3. Security deposits with public utilities,    X
      telephone companies, landlords, and
      others.
   4. Household goods and furnishings,            X
      include audio, video, and computer
      equipment.
   5. Books, pictures and other art objects,      X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.
   6. Wearing apparel.                            X
   7. Furs and jewelry.                           X
   8. Firearms and sports, photographic,          X
      and other hobby equipment.
   9. Interest in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.
 10. Annuities. Itemize and name each             X
     issue.
 11. Interests in an education IRA as             X
     defined in 26 U.S.C. § 530(b)(1) or
     under a qualified State tuition plan as
     defined in 26 U.S.C. § 529(b)(1).
     Give particulars. (File separately the
     record(s) of any such interest(s). 11
     U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or           X
     other pension or profit sharing plans.
     Give particulars.
 13. Stock and interests in incorporated          X
     and unincorporated businesses.
     Itemize.
 14. Interests in partnerships or joint           X
     ventures. Itemize.




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B6B (Official Form 6B) (12/07) - Cont.

IN RE RWN Property Management LLC                                                                        Case No.
                                                      Debtor(s)                                                     (If known)

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)


                                                                                                                       CURRENT VALUE OF
                                                N                                                                     DEBTOR'S INTEREST IN
                                                O                                                                      PROPERTY WITHOUT
              TYPE OF PROPERTY                                    DESCRIPTION AND LOCATION OF PROPERTY
                                                N                                                                        DEDUCTING ANY
                                                E                                                                      SECURED CLAIM OR
                                                                                                                           EXEMPTION




 15. Government and corporate bonds and         X
     other negotiable and non-negotiable
     instruments.
 16. Accounts receivable.                       X
 17. Alimony, maintenance, support, and         X
     property settlements in which the
     debtor is or may be entitled. Give
     particulars.
 18. Other liquidated debts owed to debtor      X
     including tax refunds. Give
     particulars.
 19. Equitable or future interest, life         X
     estates, and rights or powers
     exercisable for the benefit of the
     debtor other than those listed in
     Schedule A - Real Property.
 20. Contingent and noncontingent               X
     interests in estate of a decedent, death
     benefit plan, life insurance policy, or
     trust.
 21. Other contingent and unliquidated          X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other             X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other            X
     general intangibles. Give particulars.
 24. Customer lists or other compilations       X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with
     obtaining a product or service from
     the debtor primarily for personal,
     family, or household purposes.
 25. Automobiles, trucks, trailers, and         X
     other vehicles and accessories.
 26. Boats, motors, and accessories.            X
 27. Aircraft and accessories.                  X
 28. Office equipment, furnishings, and         X
     supplies.
 29. Machinery, fixtures, equipment, and        X
     supplies used in business.
 30. Inventory.                                 X
 31. Animals.                                   X
 32. Crops - growing or harvested. Give         X
     particulars.
 33. Farming equipment and implements.          X
 34. Farm supplies, chemicals, and feed.        X




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B6B (Official Form 6B) (12/07) - Cont.

IN RE RWN Property Management LLC                                                                   Case No.
                                                 Debtor(s)                                                                  (If known)

                                               SCHEDULE B - PERSONAL PROPERTY
                                                      (Continuation Sheet)


                                                                                                                               CURRENT VALUE OF
                                           N                                                                                  DEBTOR'S INTEREST IN
                                           O                                                                                   PROPERTY WITHOUT
             TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                                     DEDUCTING ANY
                                           E                                                                                   SECURED CLAIM OR
                                                                                                                                   EXEMPTION




 35. Other personal property of any kind   X
     not already listed. Itemize.




                                                                                                                   TOTAL                      0.00
                                                                                              (Include amounts from any continuation sheets attached.
         0 continuation sheets attached                                                                  Report total also on Summary of Schedules.)


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B6C (Official Form 6C) (04/13)

IN RE RWN Property Management LLC                                                                                Case No.
                                                          Debtor(s)                                                                         (If known)

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
(Check one box)
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)

                                                                                                                                                CURRENT VALUE
                                                                                                                       VALUE OF CLAIMED          OF PROPERTY
                  DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                          EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                 EXEMPTIONS

Not Applicable




* Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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B6D (Official Form 6D) (12/07)

IN RE RWN Property Management LLC                                                                                       Case No.
                                                           Debtor(s)                                                                                       (If known)

                                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
  State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests.
  List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
will not fit on this page, use the continuation sheet provided.
  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.

    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.



                                                                                                                                            AMOUNT OF
         CREDITOR'S NAME AND MAILING ADDRESS                                     DATE CLAIM WAS INCURRED,                                 CLAIM WITHOUT
                                                                                                                                                                    UNSECURED
       INCLUDING ZIP CODE AND ACCOUNT NUMBER.                           NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                        DEDUCTING
                                                                                                                                                                  PORTION, IF ANY
                  (See Instructions Above.)                                       PROPERTY SUBJECT TO LIEN                                   VALUE OF
                                                                                                                                           COLLATERAL




ACCOUNT NO. 8744                                           X        Tax Debts Incurred 2011 - 2012                                               8,381.20                 8,381.20
Monroe County Tax Claim Bureau
One Quaker Plaza, Suite 104
Stroudsburg, PA 18360

                                                                    VALUE $

ACCOUNT NO.                                                         Assignee or other notification for:
June O'Neill Tax Collector                                          Monroe County Tax Claim Bureau
P.O. Box 743
Effort, PA 18330-0743

                                                                    VALUE $

ACCOUNT NO.                                                X        Installation Account Incurred 2008                                       373,031.99              273,031.99
Preferred Capital BIDCO, Inc.
300 Delaware Ave, Suite 1380
Wilmington, DE 19801

                                                                    VALUE $ 100,000.00

ACCOUNT NO.                                                         Assignee or other notification for:
Newtek Small Business Finance                                       Preferred Capital BIDCO, Inc.
212 West 35th St., 2d Floor
New York, NY 10001

                                                                    VALUE $
                                                                                                                               Subtotal
       1 continuation sheets attached                                                                              (Total of this page) $ 381,413.19 $ 281,413.19
                                                                                                                                 Total
                                                                                                               (Use only on last page) $                         $
                                                                                                                                         (Report also on         (If applicable, report
                                                                                                                                         Summary of              also on Statistical
                                                                                                                                         Schedules.)             Summary of Certain
                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                 Data.)




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B6D (Official Form 6D) (12/07) - Cont.

IN RE RWN Property Management LLC                                                                              Case No.
                                                         Debtor(s)                                                                              (If known)

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                     (Continuation Sheet)


                                                                                                                                 AMOUNT OF
         CREDITOR'S NAME AND MAILING ADDRESS                                  DATE CLAIM WAS INCURRED,                         CLAIM WITHOUT
                                                                                                                                                         UNSECURED
       INCLUDING ZIP CODE AND ACCOUNT NUMBER.                        NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                DEDUCTING
                                                                                                                                                       PORTION, IF ANY
                  (See Instructions Above.)                                    PROPERTY SUBJECT TO LIEN                           VALUE OF
                                                                                                                                COLLATERAL




ACCOUNT NO.                                                     Assignee or other notification for:
Providian                                                       Preferred Capital BIDCO, Inc.
P.O. Box 660490
Dallas, TX 75266

                                                                VALUE $

ACCOUNT NO.                                                     Assignee or other notification for:
US Small Business Administration                                Preferred Capital BIDCO, Inc.
409 3rd St, SW
Washington, DC 20416

                                                                VALUE $

ACCOUNT NO.




                                                                VALUE $

ACCOUNT NO.




                                                                VALUE $

ACCOUNT NO.




                                                                VALUE $

ACCOUNT NO.




                                                                VALUE $
Sheet no.       1 of        1 continuation sheets attached to                                                         Subtotal
Schedule of Creditors Holding Secured Claims                                                              (Total of this page) $                      $
                                                                                                                         Total
                                                                                                       (Use only on last page) $ 381,413.19 $ 281,413.19
                                                                                                                              (Report also on         (If applicable, report
                                                                                                                              Summary of              also on Statistical
                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                      Liabilities and Related
                                                                                                                                                      Data.)




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B6E (Official Form 6E) (04/13)

IN RE RWN Property Management LLC                                                                                         Case No.
                                                            Debtor(s)                                                                                   (If known)

                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

  Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
     responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
     U.S.C. § 507(a)(1).
     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(7).
     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
     a drug, or another substance. 11 U.S.C. § 507(a)(10).
     * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

       1 continuation sheets attached



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B6E (Official Form 6E) (04/13) - Cont.

IN RE RWN Property Management LLC                                                                                           Case No.
                                                         Debtor(s)                                                                                 (If known)

                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                              (Continuation Sheet)

                                       Taxes and Other Certain Debts Owed to Governmental Units
                                                                 (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                                                AMOUNT
                                                                                                                                             AMOUNT                NOT
      CREDITOR'S NAME, MAILING ADDRESS                                                                                       AMOUNT
                                                                   DATE CLAIM WAS INCURRED                                                   ENTITLED           ENTITLED
   INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                       OF
                                                                 AND CONSIDERATION FOR CLAIM                                                    TO                  TO
              (See Instructions above.)                                                                                       CLAIM
                                                                                                                                             PRIORITY           PRIORITY,
                                                                                                                                                                 IF ANY




ACCOUNT NO. 8820                                  X        Federal Tax Debt Incurred 2014
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

                                                                                                                              2,925.00        2,925.00
ACCOUNT NO.                                       X        Tax Debt Incurred 2011
Pa Department Of Labor & Industry
Office Of UC Tax Services
651 Boas Street
Harrisburg, PA 17121-0750
                                                                                                                              1,671.33        1,671.33
ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




Sheet no.       1 of        1 continuation sheets attached to                                                  Subtotal
Schedule of Creditors Holding Unsecured Priority Claims                                           (Totals of this page) $     4,596.33 $      4,596.33 $
                                                                                                      Total
               (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                4,596.33
                                                                                                           Total
                                             (Use only on last page of the completed Schedule E. If applicable,
                                report also on the Statistical Summary of Certain Liabilities and Related Data.)                         $    4,596.33 $



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B6F (Official Form 6F) (12/07)

IN RE RWN Property Management LLC                                                                                        Case No.
                                                            Debtor(s)                                                                                 (If known)

                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

   If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

  Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




              CREDITOR'S NAME, MAILING ADDRESS                                               DATE CLAIM WAS INCURRED AND                                           AMOUNT
          INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                          CONSIDERATION FOR CLAIM. IF CLAIM IS                                      OF
                     (See Instructions Above.)                                                 SUBJECT TO SETOFF, SO STATE                                          CLAIM




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




ACCOUNT NO.




                                                                                                                                                   Subtotal
       0 continuation sheets attached                                                                                                  (Total of this page) $
                                                                                                                                                  Total
                                                                                     (Use only on last page of the completed Schedule F. Report also on
                                                                                         the Summary of Schedules and, if applicable, on the Statistical
                                                                                                      Summary of Certain Liabilities and Related Data.) $




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B6G (Official Form 6G) (12/07)

IN RE RWN Property Management LLC                                                                                         Case No.
                                                            Debtor(s)                                                                                  (If known)

                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                   NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                    STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                      OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                      STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.




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B6H (Official Form 6H) (12/07)

IN RE RWN Property Management LLC                                                                                          Case No.
                                                             Debtor(s)                                                                                   (If known)

                                                                 SCHEDULE H - CODEBTORS
   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.

                           NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


Nicole Nebel                                                                              Preferred Capital BIDCO, Inc.
309 Barbara Court                                                                         300 Delaware Ave, Suite 1380
Saylorsburg, PA 18353                                                                     Wilmington, DE 19801

                                                                                          Internal Revenue Service
                                                                                          P.O. Box 7346
                                                                                          Philadelphia, PA 19101-7346

                                                                                          Monroe County Tax Claim Bureau
                                                                                          One Quaker Plaza, Suite 104
                                                                                          Stroudsburg, PA 18360

                                                                                          Pa Department Of Labor & Industry
                                                                                          Office Of UC Tax Services
                                                                                          651 Boas Street
                                                                                          Harrisburg, PA 17121-0750
Robert Nebel                                                                              Preferred Capital BIDCO, Inc.
2126 Lake Shore Drive                                                                     300 Delaware Ave, Suite 1380
Sciota, PA 18354                                                                          Wilmington, DE 19801

                                                                                          Internal Revenue Service
                                                                                          P.O. Box 7346
                                                                                          Philadelphia, PA 19101-7346

                                                                                          Monroe County Tax Claim Bureau
                                                                                          One Quaker Plaza, Suite 104
                                                                                          Stroudsburg, PA 18360

                                                                                          Pa Department Of Labor & Industry
                                                                                          Office Of UC Tax Services
                                                                                          651 Boas Street
                                                                                          Harrisburg, PA 17121-0750
Wilhelm Nebel                                                                             Preferred Capital BIDCO, Inc.
947 Alexandria Drive                                                                      300 Delaware Ave, Suite 1380
Newark, DE 19711                                                                          Wilmington, DE 19801

                                                                                          Internal Revenue Service
                                                                                          P.O. Box 7346
                                                                                          Philadelphia, PA 19101-7346

                                                                                          Monroe County Tax Claim Bureau
                                                                                          One Quaker Plaza, Suite 104
                                                                                          Stroudsburg, PA 18360

                                                                                          Pa Department Of Labor & Industry
                                                                                          Office Of UC Tax Services
                                                                                          651 Boas Street
                                                                                          Harrisburg, PA 17121-0750
Wilhelm Nebel                                                                             Preferred Capital BIDCO, Inc.



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B6H (Official Form 6H) (12/07) - Cont.

IN RE RWN Property Management LLC                                                      Case No.
                                                  Debtor(s)                                                       (If known)

                                                      SCHEDULE H - CODEBTORS
                                                         (Continuation Sheet)

                       NAME AND ADDRESS OF CODEBTOR                                NAME AND ADDRESS OF CREDITOR


309 Barbara Court                                                300 Delaware Ave, Suite 1380
Saylorsburg, PA 18353                                            Wilmington, DE 19801

                                                                 Internal Revenue Service
                                                                 P.O. Box 7346
                                                                 Philadelphia, PA 19101-7346

                                                                 Monroe County Tax Claim Bureau
                                                                 One Quaker Plaza, Suite 104
                                                                 Stroudsburg, PA 18360

                                                                 Pa Department Of Labor & Industry
                                                                 Office Of UC Tax Services
                                                                 651 Boas Street
                                                                 Harrisburg, PA 17121-0750




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B6 Declaration (Official Form 6 - Declaration) (12/07)

IN RE RWN Property Management LLC                                                                                  Case No.
                                                         Debtor(s)                                                                                    (If known)

                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                          sheets, and that they are
true and correct to the best of my knowledge, information, and belief.

Date:                                               Signature:
                                                                                                                                                                                 Debtor


Date:                                               Signature:
                                                                                                                                                                   (Joint Debtor, if any)
                                                                                                                         [If joint case, both spouses must sign.]

             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                          Social Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
responsible person, or partner who signs the document.


Address




Signature of Bankruptcy Petition Preparer                                                                         Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:


If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the President                                                           (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the RWN Property Management LLC
(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of       14 sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.



Date: November 19, 2014                             Signature: /s/ Robert W. Nebel

                                                                 Robert W. Nebel
                                                                                                                           (Print or type name of individual signing on behalf of debtor)

             [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


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B7 (Official Form 7) (04/13)

                                                         United States Bankruptcy Court
                                                         Middle District of Pennsylvania

IN RE:                                                                                                       Case No.
RWN Property Management LLC                                                                                  Chapter 7
                                                 Debtor(s)

                                                  STATEMENT OF FINANCIAL AFFAIRS
   This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

  Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                        DEFINITIONS

  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

1. Income from employment or operation of business
 None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
        including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
        case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
        maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
        beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
        under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)
            AMOUNT SOURCE
           -10,179.00 2013 IRS 1065 (Ordinary Business Loss)
            -9,589.00 2012 IRS 1065 (Ordinary Business Loss)
           -13,368.00 2011 IRS 1065 (Ordinary Business Loss)
           -16,495.00 2010 IRS 1065 (Ordinary Business Loss)

2. Income other than from employment or operation of business
 None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
        two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
        separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

3. Payments to creditors
Complete a. or b., as appropriate, and c.
 None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
        debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
        constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
        a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
        counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




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 None
        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
        preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
        $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
        debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)

        * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                     AMOUNT PAID
                                                                                                                      OR VALUE OF                 AMOUNT
NAME AND ADDRESS OF CREDITOR                                     DATE OF PAYMENTS/TRANSFERS                            TRANSFERS              STILL OWING
Pa Department Of Labor & Industry                                August 2014                                              1,646.47                 1,671.33
Office Of UC Tax Services
651 Boas Street
Harrisburg, PA 17121-0750
Payment was made directly by President in order to cure a penalty incurred by the corporation.
Pa Department Of Labor & Industry                                Robert Nebel (individually) pays                                50.00              1,671.33
Office Of UC Tax Services                                        $50.00 per month
651 Boas Street
Harrisburg, PA 17121-0750
 None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
        who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

4. Suits and administrative proceedings, executions, garnishments and attachments
 None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
        bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

5. Repossessions, foreclosures and returns
 None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
        the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

6. Assignments and receiverships
 None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and joint petition is not filed.)
 None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

7. Gifts
 None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
        gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
        per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

8. Losses
 None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
        a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
DESCRIPTION AND                                DESCRIPTION OF CIRCUMSTANCES AND, IF LOSS WAS COVERED IN
VALUE OF PROPERTY                              WHOLE OR IN PART BY INSURANCE, GIVE PARTICULARS                DATE OF LOSS
Kitchen Equipment was removed                  20% owner Wilhelm Nebel and 30% owner Nicole Nebel removed and December 2010



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from the former business.                      later sold off numerous kitchen items, equipment, and installation
Projected Valuation - $60,000.00               items.

9. Payments related to debt counseling or bankruptcy
 None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
        of this case.
                                                                  DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
Patrick J. Best, Esq.                                             9/26/2014                                                            1,500.00
18 North 8th Street
Stroudsburg, PA 18360-0000

10. Other transfers
 None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
        absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

 None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
        device of which the debtor is a beneficiary.

11. Closed financial accounts
 None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
        transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
        certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
        brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

12. Safe deposit boxes
 None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
        both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

13. Setoffs
 None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
        case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)

14. Property held for another person
 None   List all property owned by another person that the debtor holds or controls.


15. Prior address of debtor
 None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
        that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

16. Spouses and Former Spouses
 None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
        Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
        identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.




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17. Environmental Information
For the purpose of this question, the following definitions apply:
“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.
“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.
“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

 None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
        potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
        Environmental Law.

 None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
        the governmental unit to which the notice was sent and the date of the notice.

 None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
        is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business
 None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
        proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
        commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
        preceding the commencement of this case.
        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
        of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
        preceding the commencement of this case.
    If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
    of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
    preceding the commencement of this case.
                                           LAST FOUR DIGITS
                                           OF SOCIAL-
                                           SECURITY OR OTHER
                                           INDIVIDUAL
                                           TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
NAME                                       (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
RWN Property Management LLC XX-XXXXXXX                                2725 Route 115                           Real Estate          4/1/2008 - June
                                                                      Effort, PA 18330-0000                    Management           2010
 None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.


The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
signature page.)

19. Books, records and financial statements
 None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
        keeping of books of account and records of the debtor.
NAME AND ADDRESS                                                 DATES SERVICES RENDERED




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Dale E. Kirk, CPA                                                 Tax Preperation 2011 - 2013
Kirk, Summa & Co., LLP
1 Dansbury Square
East Stroudsburg, PA 18301
Zellers & Zellers Accounting And Tax Ser                          Bookkeeping / Accounting
1040 Interchange Road
Gilbert, PA 18331
 None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
        and records, or prepared a financial statement of the debtor.

 None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
        debtor. If any of the books of account and records are not available, explain.

 None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
        the debtor within the two years immediately preceding the commencement of this case.

20. Inventories
 None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
        dollar amount and basis of each inventory.

 None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


21. Current Partners, Officers, Directors and Shareholders
 None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                  NATURE OF INTEREST                                          PERCENTAGE OF INTEREST
Robert Nebel                                                      President                                                                 50.000000
2126 Lake Shore Drive
Sciota, PA 18354-0000
Wilhelm Nebel                                                     Secretary                                                                         20.000000
309 Barbara Court
Saylorsburg, PA 18353
Nicole Nebel                                                      Vice President                                                                    30.000000
309 Barbara Court
Saylorsburg, PA 18353
 None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
        or holds 5 percent or more of the voting or equity securities of the corporation.

22. Former partners, officers, directors and shareholders
 None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
        of this case.

 None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
        preceding the commencement of this case.

23. Withdrawals from a partnership or distributions by a corporation
 None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
        bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
        case.

24. Tax Consolidation Group
 None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
        purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.
NAME OF PARENT CORPORATION                                        TAXPAYER-IDENTIFICATION NUMBER (EIN)
None.




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25. Pension Funds.
 None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
        has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
NAME OF PENSION PLAN                                            TAXPAYER-IDENTIFICATION NUMBER (EIN)
None.

[If completed on behalf of a partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information, and belief.



Date: November 19, 2014                         Signature: /s/ Robert W. Nebel

                                                             Robert W. Nebel, President
                                                                                                                                              Print Name and Title



                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                  0 continuation pages attached


 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




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                                               United States Bankruptcy Court
                                               Middle District of Pennsylvania

IN RE:                                                                                  Case No.
RWN Property Management LLC                                                             Chapter 7
                                        Debtor(s)

                                       VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



Date: November 19, 2014                Signature: /s/ Robert W. Nebel
                                                    Robert W. Nebel, President                                              Debtor



Date:                                  Signature:
                                                                                                                Joint Debtor, if any




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RWN Property Management LLC          Robert Nebel
2621 Lake Shore Drive                2126 Lake Shore Drive
Sciota, PA 18354                     Sciota, PA 18354




Anders, Riegel & Masington, LLC      US Small Business Administration
18 North 8th Street                  409 3rd St, SW
Stroudsburg, PA 18360-0000           Washington, DC 20416




Internal Revenue Service             Wilhelm Nebel
P.O. Box 7346                        947 Alexandria Drive
Philadelphia, PA 19101-7346          Newark, DE 19711




June O'Neill Tax Collector           Wilhelm Nebel
P.O. Box 743                         309 Barbara Court
Effort, PA 18330-0743                Saylorsburg, PA 18353




Monroe County Tax Claim Bureau
One Quaker Plaza, Suite 104
Stroudsburg, PA 18360




Newtek Small Business Finance
212 West 35th St., 2d Floor
New York, NY 10001




Nicole Nebel
309 Barbara Court
Saylorsburg, PA 18353




Pa Department Of Labor & Industry
Office Of UC Tax Services
651 Boas Street
Harrisburg, PA 17121-0750



Preferred Capital BIDCO, Inc.
300 Delaware Ave, Suite 1380
Wilmington, DE 19801




Providian
P.O. Box 660490
Dallas, TX 75266




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                                                                                        United States Bankruptcy Court
                                                                                        Middle District of Pennsylvania

IN RE:                                                                                                                                                                     Case No.
RWN Property Management LLC                                                                                                                                                Chapter 7
                                                                             Debtor(s)

                                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
       one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
       of or in connection with the bankruptcy case is as follows:

       For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                  1,500.00

       Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                      1,500.00

       Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $          0.00

2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
              together with a list of the names of the people sharing in the compensation, is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.     [Other provisions as needed]




6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                               CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
     proceeding.


                           November 19, 2014                                                  /s/ Patrick J. Best, Esquire
                                          Date                                                Patrick J. Best, Esquire 309732
                                                                                              Anders, Riegel & Masington, LLC
                                                                                              18 North 8th Street
                                                                                              Stroudsburg, PA 18360-0000
                                                                                              (570) 424-1117 Fax: (570) 424-2814
                                                                                              patrick@armlawyers.com




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FB 201A (Form 201A) (06/14)


                                    UNITED STATES BANKRUPTCY COURT

                              NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                       OF THE BANKRUPTCY CODE

         In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your




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Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged.

         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total fee $310)
         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

         Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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